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Raymond D. Powers

|SB # 2737; rdg@gclwerstolman.com
Portia L. Rauer

|SB # 7233; g|r@gowersto|man.com
POWERS TOLMAN FARLEY, PLLC

702 West idaho Street, Suite 700
Boise, lD 83702

Post Office Box 9756

Boise, |D 83707

Te|ephone: (208) 577-5100

FaCSimile: (208) 577-5101
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Attorneys for Gerald E. Mortimer, M.D. and Linda G. McKinnon Mortimer

lN THE UN|TED STATES DlSTR|CT
COURT FOR THE DlSTR|CT OF lDAHO

KELL| ROWLE'|'|'E, an individual,
SALLY ASHBY, an individual, and
HOWARD FOWLER, an individual,

Plaintiffs,
vs.

GERALD E. MORT|MER, l\/l.D., L|NDA G.
McK|NNON MORT|MER, and the marital
community comprised thereof, and
OBSTETR|CS AND GYN ECOLOGY ASSOC|ATES
OF |DAHO FALLS, P.A. an idaho professional
corporation,

Defendants.

 

 

Case NO. 4:18-CV-00143-DCN

MEMORANDUM lN SUPPORT OF
DEFENDANTS GERALD E. MORT|MER,
M.D. AND L|NDA G. MCKINNON
MORT|MER'S MOT|ON TO DlSMlSS

COME NOW, Gerald E. Mortimer, M.D. and Linda G. McKinnon Mortimer (hereinafter

”Defendants"), by and through their undersigned counsel of record, Powers Tolman Farley, PLLC, and

respectfully submit this memorandum in support of Defendants' motion to dismiss Plaintif'fs'

Complaint pursuant to Ru|e 12(b)(6), Fed. R. Civ. P.

MEMORANDUM lN SUPPORT OF DEFENDANTS GERALD E. MORT|MER, M.D. AND L|NDA G. McKlNNON MORT|MER'S MOT|ON TO DlSMlSS - 1

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lNTRODUCT|ON
P|aintiffs filed suit against Defendants on N|arch 30, 2018 [Dkt. 1) alleging medical
malpractice, lack of informed consent, fraud, battery, intentional and negligent infliction of
emotional distress, breach of contract, and violation of |daho's consumer protection act. P|aintiffs
assert that Gerald E. Mortimer, M.D. (Dr. Mortimer) breached the standard of care when he used
his own genetic material to artificially inseminate P|aintiff Ashby in 1980, without Ashby or Fowler’s
knowledge, resulting in the birth of Row|ette in May of 1981.

Through this motion Defendants move for dismissal of P|aintiffs' Complaint on the following

grounds:

1) P|aintiffs' claims are barred by the statute of limitation;

2) Plaintiffs' claim of lack of informed consent fails to state a claim upon which relief
can be granted;

3) Plaintiffs' claims of fraud, breach of contract, emotional distress, battery, and
consumer protection act violation are precluded by the claim of malpractice;

4) P|aintiffs failed to properly plead a cause of action for emotional distress;

5) P|aintiffs failed to state a valid claim against Linda G. Mortimer; and

6) P|aintiffs Fowler and Row|ette lack standing and are not real parties in interest.

Even when construing Plaintiffs' allegations as true, their Complaint fails to state claims upon

which relief can be granted and should be dismissed.
ARGUMLNT AND ANALYS|S

Under Rule 12(b)(6), Fed. R. Civ. P., a party can move for dismissal if the complaint fails to
state claims upon which relief can be granted. A motion to dismiss will only be granted if the
complaint fails to allege enough facts to state a claim to relief that is plausible on its face.
Bodybuilding.com LLC v. PhD Fitne$s, LLC, 1:16-CV-00271-EJL-CWD, 2007 WL 1013863 at *1-2, (D.
|daho. Mar. 15, 2007) (citing BellAtIantic Corp. v. Twombly, 550 U.S. 544 (2007). Ajudgment on the
pleadings may be granted only when it appears beyond a doubt that the claiming party can prove
no set of facts in support of his claim which would entitled him to relief. Bodybuilding.com LLC, at
*2. When deciding a motion for judgment on the pleadings, the court assumes the allegations in
the complaint are true and construes them in the light most favorable to the non-moving party. ld.
A judgment on the pleadings is appropriate when, taking all allegations in the complaint as true, the
moving party is entitled to judgment as a matter of law. ld. The court is not, however, bound to
accept as true a legal conclusion couched as a factual allegation; therefore, conclusory allegations

of law and unwarranted inferences are insufficient to defeat a motion to dismiss. ld.

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As set forth herein, P|aintiffs have failed to state claims upon which relief can be granted,
warranting dismissal of their Complaint.

1. _P_l._l_!_l_l_NTlFFS' CLAlNlS ARE BARRED_§Y THE STATUTESL|M|TAT|ON.

When a court has subject matter jurisdiction over state law claims based on diversity
jurisdiction, a court must apply state law to any substantive issue. 28 U.S.C. § 1332; Miesen v.
Henderson, 1:10-cv-00404-CWD, 2017 WL 4270630, at *3, (D. idaho, Sept. 26, 2017) (internal
citations omitted.) Although statutes of limitation are ordinarily considered procedural, in diversity
actions they are considered substantive when outcome-derivative. ld. According to idaho law, civil
actions must be commenced within periods prescribed by the idaho Code, except when a specific
statute of limitation period is established by another statute. ld. When multiple claims are set forth
in a complaint, a court must separately examine the claims to determine the statute of limitation
for each claim. ld. |daho's statutes of limitation bar P|aintiffs' claims, requiring dismissal of this
action.

a. Medical Negligence C|aim ls Not Tolled Bv Fraudu|ent §oncealment Exception Allc_i_
ls Barred _By The Statute 91 Limitation.

According to idaho Code § 5-219(4), an action to recover damages for medical malpractice
must be commenced within two (2) years from the occurrence, act or omission complained of.
idaho Code § 5-219(4) provides two exceptions related to when a cause of action begins to accrue:
when a foreign object is left in a patient's body and when the fact of damage is fraudulently and
knowingly concealed from the patient. An action brought under the fraudulent concealment
exception must be commenced within one (1) year following the date of accrual. ld.

When the fraudulent concealment exception applies, the cause of action begins to accrue
when the injured party knows or in the exercise of reasonable care should have been put on inquiry
of the alleged malpractice, not when the injured party knows or was put on inquiry of the fact of
damage. Bliss VaI/ey Foods, Inc. v. Walker, 127 idaho 12, 15, 896 P.2d 338, 341 (1998).

States that have enforced similar fraudulent concealment exceptions require the defendant
to have a legal duty to affirmatively act or inform before fraudulent concealment can be considered.
McDougaI v. Weed, 945 P.2d 175, 179 (Utah Ct. App. 1997); Chapman By and Through Chapman v.
Primary Children’s Hosp., 784 P.2d 1181, 1186 (Utah 1989) (”neither material omissions nor

fraudulent affirmative statements are actionable absent a duty to speak the truth.”).

MEMORANDUM lN SUPPORT OF DEFENDANTS GERALD E. MORT|MER, M.D. AND L|NDA G. MCK|NNON MORTlMER'S MOT|ON TO DlSMlSS - 3

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The fraudulent concealment exception does not apply to extend the statute of limitation
since Dr. Mortimer had no duty to reveal the identity ofthe semen donor.

P|aintiffs claim Dr. Mortimer owed them certain duties as Ashby's treating physician during
her artificial insemination procedure.1 They do not allege that Dr. Mortimer had a duty to reveal the
identity of the semen donor. According to P|aintiffs' Complaint, the identity of the donor of the
genetic material was to remain anonymous.2 Critically, it was Ashby and Fowler who actively
worked to conceal the nature of Row|ette's conception, and their concealment was the proximate
cause that delayed Row|ette's alleged ”discovery" of her biological father until July 2017.

it is axiomatic that an individual with an obligation to conceal information cannot
fraudulently conceal that same information. Dr. Mortimer was bound to ensure the donor's identity
remained anonymous, and Dr. Mortimer met that obligation. Notably, Ashby could have withdrawn
her requirement of donor anonymity if she desired, but she did not do so.

Moreover, paternity identification through DNA genetic testing has been available for
decades. For example, in Henderson v. Smith, 128 idaho 444, 915 P.2d 6 (1996), a case from 1996,
the court noted that the putative father was given the option of DNA testing to prove or disprove
paternity and opted not to do so. Here, had P|aintiffs desired DNA information regarding the
identity of Row|ette's biological father they could have had DNA testing performed in 1996 to
determine if Fowler was her natural father. in the exercise of reasonable care, as is required to
prove fraudulent concealment, P|aintiffs could have pursued the identity of Row|ette's natural
father had they wanted that information. To the contrary, however, Ashby and Fowler set about
concealing the fact that Row|ette was conceived via artificial insemination with anonymous donor
semen, hiding from her the fact that she was not truly her father's biological daughter as she had
been led to believe for 37 years.

Therefore, P|aintiffs' claim of fraudulent concealment does not toll the statute of limitation

and, their medical negligence claim is time barred.

 

1Complaint (Dkt. 1), 1| 18.
2Complaint (Dkt. 1), 11 12,

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b. Lack Of informeclconsent C|aim l_s_B_arred Bv The Statute Of Limitation.

To establish a claim of informed consent, the plaintiff must establish three elements: (1)
nondisclosure; (2) causation; and (3) injury arisingfrom the nondisclosure. Foster v. Traul, 145 idaho
24, 28, 175 P.3d 186, 190 (2007). Claims for injuries arising from informed consent must be
commenced with two (2) years of the act, occurrence or omission complained of. idaho Code § 5-
219(4). importantly, however, the two exceptions discussed above apply exclusively to claims of
professional malpractice. G/aze v. De)j'enbaugh, 144 idaho 829, 832, 172 P.3d 1104, 1107 (2007).
Although informed consent involves a physician's act or omissions, it is a separate claim from
negligence. Foster v. Traul, 141 idaho 890, 894, 120 P.3d 278, 282 (2005) (holding physician may be
held liable under the doctrine of informed consent even if there was no negligence in the treatment
of the patient). Thus, the exceptions only apply to the medical negligence cause of action - not a
lack of informed consent cause of action.

P|aintiffs allege Dr. Mortimer failed to disclose that he used his own genetic material to
inseminate Ashby. There is no dispute that if such an omission occurred, it occurred when Ashby
was artificially inseminated in the summer of 1980.3 Since idaho Code § 5-219(4) does not provide
an exception to when the cause of action begins to accrue for an informed consent claim, P|aintiffs'
claim undoubtedly began to accrue in 1980. Since this action was not commenced until 2017,
P|aintiffs' claim of lack of informed consent is time barred and should be dismissed.

c. Breach Of Contract C|aim ls Barred Bv The Statute Of Limitation.

A claim for breach of contract must be brought within five (5) years of when the action begins
to accrue. idaho Code § 5-216. The action begins to accrue upon the breach, even though the
damage from the breach may not be immediately known. Mason v. Tucker and Associates, 125
idaho 429, 436 (Ct. App. 1994). Moreover, there is no discovery rule in a breach of contract action
that tolls the applicable statute of limitation. idaho Code § 5-216.

Here, there can be no dispute that ifan alleged contract between P|aintiffs and Dr. Mortimer
existed, it was breached in the summer of 1980, approximately 37 years before the P|aintiffs
commenced this action. Since there is no discovery rule that could toll a claim of breach of contract,

P|aintiffs' claim for breach of contract is time barred, and should be dismissed.

 

3 Complaint (Dkt. 1), ll 18.

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d. Ytterv C|aim l_s§\rred By The St§tute Of Limitation.

Civil battery consists of both intentional and unpermitted contact upon a person that is
either unlawful, harmful, or offensive. Neal v. Nea/, 125 idaho 617, 622, 873 P.2d 871, 846 (1994).
intent relates to the act performed, not the injury suffered. White v. University of Idaho, 118 idaho
400, 402-03, 797 P.2d 108, 110-11 (1990). A claim of battery must be brought within two (2) years
from when the cause of action began to accrue. i.C. § 5-219(5). ”A cause of action for battery accrues
when the wrongdoing occurs, not when it is discovered.” G/aze v. Deffenbaugh, 144 idaho 829, 832,
172 P.3d 1104, 1107 (2007). There is no exception that would toll the statute of limitation for a
battery claim. ld.

in the Glaze case, two sisters brought civil battery claims against their father for offensive
sexual acts that occurred 25 years prior to the filing of their claims. ld. The sisters further claimed
their father concealed the facts surrounding the battery, and therefore the statute of limitation
should be tolled. ld. The court explained, however, that the fraudulent concealment exception
applies exclusively to matters involving professional malpractice and could not be used to toll
allegations of battery. ld. Since the father's alleged molestation occurred 25 years prior and the
statute of limitation could not be tolled, the sisters' battery claims were time barred. ld.

The same result should occur in the present case. There is no dispute that any allegedly
offensive contact by Dr. Mortimer upon Ashby would have occurred in the summer of 1980.
P|aintiffs' failure to bring the present action prior to the summer of 1982 has caused their battery
claim to be time barred, and therefore P|aintiffs' battery claim should be dismissed.

e. intentional infliction Of Emotional Distress Ciaim is Yrred By The Statute Of
Limitation.

To bring a claim of intentional infliction of emotional distress (iiED), a claimant must
establish four eiements, specifically: (1) the defendant's conduct was intentional or reckless; (2)
defendant's conduct was extreme and outrageous; (3) there is a connection between the
defendant's conduct and the plaintiff’s distress; and (4) plaintiff’s emotional distress is severe.
Edmondson v. $hearer Lumber Products, 139 idaho 172, 179, 75 P.3d 733, 740 (2003). A claim of
iiED must be commenced within two (2) years of the occurrence, act or omission complained of.
idaho Code § 5-219; Johnson v. McPhee, 147 idaho 455, 463, 210 P.3d 563, 571 (Ct. App. 2009). The
intentional conduct of the defendant triggers the accrual of the statute of limitation, not when the

plaintiff suffers an injury. ld. importantly, exceptions in idaho Code § 5-219(4) that allow for the

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tolling of the statute of limitation apply only to claims of malpractice. Glaze v. De)j‘enbaugh, 144
idaho 829, 832, 172 P.3d 1104, 1107 (2007).

Here, P|aintiffs allege Dr. Mortimer's artificial insemination of Ashby with his own genetic
material was both intentional and outrageous. Yet, P|aintiffs also acknowledge the alleged
intentional conduct occurred in 1980. Under the statute of limitation and the holding in Johnson, it
is the occurrence or act that triggers the statute of limitation for iiED claims. it goes without saying
that, if Dr. Mortimer's alleged conduct was an intentional act to inflict emotional distress, infliction
ofthe emotional distress would have taken place at the time of the act. By P|aintiffs' own admission,
any emotional distress related to Dr. Mortimer's alleged acts was not experienced for 37 years.
Consequently, the P|aintiffs' claim of iiED is barred by idaho Code § 5-219(4).

f. Negligent infliction Of Emotionai §lstress C|aim is Barred Bv The Statute Of
Limitation.

Negligent infliction of emotional distress (NiED) is simply a category of negligence. Johnson,
147 idaho at 466, 210 P.3d at 574. it requires the same elements as common law negligence,
specifically that: (1) defendant owes a legal duty; (2) defendant breached that duty; (3) there is a
causal connection between the defendant's conduct and the plaintiff’s injury; and (4) plaintiff
suffered actual loss or damage. Frogley v. Meridian Joint $chool Dist. No. 2, 155 idaho 558, 569, 314
P.3d 613, 624 (2013). A claim of NiED must be commenced within two (2) years of the occurrence,
act or omission complained of. idaho Code § 5-219(4).

P|aintiffs' NiED and iiED claims share the same fate. Like P|aintiffs' iiED claim, their NiED
claim stems from alleged conduct of Dr. Mortimer that occurred in 1980. The P|aintiffs' brought
their claim approximately 35 years too late and is therefore time barred,

g. idaho Consumer Protection Act C|aim is Barred Bv The Statute Of Limitation.

The statute of limitation for a claim under the idaho Consumer Protection Act (iPCA) is two
(2) years, and the statute begins to run when the cause of action accrues. idaho Code § 48-619;
Swafford v. Huntsman $prings, lnc., 163 idaho 209, 409 P.3d 789, 793-94 (2017). A cause of action
under the idaho Consumer Protection Act begins to accrue when a plaintiff suffers an ”ascertainable
loss.” ld.

in Swafford v. Huntsman, plaintiff sued defendant for breach of contract and violation of the
iCPA related to defendant's failure to fully comply with the masterplan for a subdivision. ld.

Swafford alleged he was told he would have ingress and egress from a certain street to his property

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in the subdivision. ld. at _, 409 P.3d at 791. instead of providing street access, the area was
improved to include landscaping, walking path, and trees. ld. The court held that Swafford's iPCA
claim was barred by the two-year statute of limitation and explained that the cause of action began
to accrue when the improvements were completed in the subdivision, implying Swafford's loss
occurred when he should have known he did not have the street access he believed he was
promised. ld. at __, 409 P.3d at 793-94. it was then that Swafford would have suffered an
ascertainable loss and the iCPA cause of action began to accrue. ld.

Here, P|aintiffs claim they believed Ashby would have been artificially inseminated with a
mix of genetic material from Fowler and ”a college student with brown hair, blue eyes, and a height
over six (6) feet tall."4 if P|aintiffs suffered the type of ”loss” contemplated under the iCPA, then
P|aintiffs' loss began to accrue when Row|ette reached adulthood and either 1) did not look like
Fowler, 2) did not have brown hair, 3) did not have blue eyes and 4) was not over six feet tail. As in
$wafford, the loss accrued when Row|ette's physical characteristics were fully developed.
Row|ette's genetic make up was complete and became visible when she reached adulthood, which
was more than two years ago since she is now 37 years old. P|aintiffs acknowledge they believed
Fowler would be Row|ette's biological father or an anonymous donor who had brown hair, blue
eyes, and was over six feet tall would be Row|ette's biological father. There are no facts alleged in
the Complaint to establish that Row|ette does not have the physical characteristics they describe.

Any ”ascertainable loss" P|aintiffs suffered would be based on the physical characteristics
they described and would have manifested themselves by the time Row|ette was an adult;
therefore, P|aintiffs' loss, if any, is time barred and their iCPA claim should be dismissed.

2. LACK OF lNFORMED CONSENT CLAlM FA|LS TO STATE A CLAlM UPON WHiCH REL|EF CAN
BE GRANTED.

informed consent is the general principle that a physician owes a duty to disclose all material
risks that could arise from a particular treatment. Sherwood v. Carter, 119 idaho 246, 251, 805 P.2d
452, 457 (1991), abrogated by Verska v. $aint Alphonsus Reg’l Med. Ctr., 151 idaho 889, 265 P.3d
502 (2011). A patient's consent to a medical procedure is only valid if the physician discloses,
”pertinent facts respecting the need for, the nature of, and the significant risks ordinarily attendant

upon such a person receiving such care.” Id.; idaho Code § 39-4506. Pertinent facts are facts

 

4 Complaint (Dkt. 1), 1i 60.

MEMORANDUM |N SUPPORT OF DEFENDANTS GERALD E. MORT|MER, M.D. AND L|NDA G. MCK|NNON MORT|MER'S MOT|ON TO DlSMlSS - 8

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illustrating the significant risks ordinarily involved in a particular procedure that a reasonable
physician in good standing in the same practicing community would disclose to his patient.
$herwood, 119 idaho at 256, 805 P.2d 462. A patient bringing a claim of informed consent must
show that had they been informed of undisclosed material risks, they would not have consented to
the procedure. ld.; Foster, 145 idaho at 31, 175 P.3d at 193; Puckett v. Verska, 144 idaho 161, 165,
158 P.3d 937, 941 (2007) (informed consent claim dismissed because there was no dispute that
surgeon informed patient of all surgical risks).

Here, P|aintiffs fail to identify any material risks that Dr. Mortimer failed to disclose.
Although all pregnancies and births are accompanied by well-known risks, P|aintiffs do not allege
any of these risks were concealed from them, nor do they allege any complications involved in
Ashby's pregnancy and subsequent birth of Row|ette. in fact, Ashby sought out treatment from Dr.
Mortimer for purposes of becoming pregnant and having a child. Ashby received precisely what she
wanted, a healthy child.

Stil|, P|aintiffs complain that Dr. Mortimer, ”failed to disclose to Ms. Ashby and i\/ir. Fowler
that he was using his own genetic material to inseminate Ms. Ashby."5 P|aintiffs fail to articulate,
however, how the identity of the sperm donor was an undisclosed risk, nor do P|aintiffs state how
use of Dr. Mortimer's genetic material put them at some undisclosed risk. The donor was required
to remain anonymous, and thus could not be disclosed in any circumstance. interestingly, even if
Dr. Mortimer used his own genetic material, Dr. Mortimer's knowledge of his own physical health
would decrease material risks associated with the usage of random, unknown genetic material.

Ultimately, P|aintiffs complain not of Dr. Mortimer's nondisclosure of material risks, but of
his alleged failure to abide by their preferred characteristics in selecting an anonymous donor.
P|aintiffs' inability to identify any risks Dr. Mortimer failed to disclose causes P|aintiffs' claim of
informed consent to fail as a matter of law.

3. WHERE THE GRAVAMEN OF THE CLAlM SOUNDS iN MLPRACT|CEl ALL OTHER CAUSES OF
ACT|ONL-\_RE PRECLUDED AND SHOU_LD BE DlSMlSSED.

When the gravamen of a claim relates to a medical professional's misconduct resulting in a
patient suffering damage, it is an action for malpractice. Hoover v. Hunter, 150 idaho 658, 663, 249

P.3d 851, 856 (2011). idaho Code § 6-1012 applies to any case, claim or action for damages due to

 

5 Complaint (Dkt. 1), 1l 32

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injury to or death of any person, brought against any physician and surgeon or other provider of
health care on account ofthe provision of or failure to provide health care. ld. The language ofthe
statute clearly treats the provision of health care as a single act and not a series of steps, each of
which must be analyzed to determine if it involved professional judgment. ld. Because the claimed
injuries in this case were due to the provision or failure to provide health care, idaho Code § 6-1012
applies and all other claims are precluded.

a. Fraud C|aim Cannot Co-Exist With MM:tice C|aim And Shouid Be Dismissed.

A claim of fraud is precluded when the gravamen of the action lies in medical malpractice.
Hoover v. Hunter, 150 idaho 658, 663, 249 P.3d 851, 856 (2011).

in Hoover, the plaintiff brought claims against a physician for negligent care that resulted in
the death of a family member. 150 idaho at 661, 249 P.3d at 854. P|aintiff also brought a fraud
claim alleging the physician made misrepresentations regarding his diagnosis and treatment. ld. The
trial court dismissed plaintiff’s fraud claim reasoning that since the claims were related to the
physician's standard of care, and the claimed damages were for wrongful death, idaho Code § 6-
1012 governed the matter exclusively. ld. The court's basis for dismissing a claim of fraud where
the action stems from medical malpractice was founded in a prior decision dismissing a breach of
contract claim when the gravamen of the case was malpractice. Id.; see also Lapham v. Steward,
137 idaho 582, 588-89, 51 P.3d 396, 402-03 (2002).

The issue in the present case is identical to the issue in Hoover, P|aintiffs have brought both
malpractice and fraud claims against Dr. Mortimer related to his medical treatment of Ashby. The
gravamen of P|aintiffs' Complaint is the medical treatment Ashby received from Dr. Mortimer.
Clearly, idaho Code § 6-1012 governs the pending matter. Allowing P|aintiffs' fraud claim to remain
would conflict with the clearly articulated evidentiary standards of idaho Code § 6-1012, and
therefore P|aintiffs' fraud claim should be dismissed.

b. Breach Of Contract C|aim Cannot Cg~Exist Wit_h Pl§intiffs' Maigractice (Dim And
Shouid Be Dismissed.

When the gravamen of the claim is based on the negligence of a health care professional,
the plaintiff is precluded from bringing a contract claim. Conner v. Hodges, 157 idaho 19, 26, 333
P.3d 130, 137 (2014). The court looks to the complaint to determine whether the gravamen of the
action consists of a breach of a contract or the duty imposed by law in relation to the manner of its

performance. ld. at 25, 333 P.3d at 136. When the basis of the action is the provision of or failure

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to provide health care, then the gist of the action is negligence and not a breach of the contract.
Id.; see also Trimming v. Howard, 52 idaho 412, 415, 16 P.2d 661, 662 (1932); Hayward v. Val/ey
Vista Care Corp., 136 idaho 342, 350, 33 P.3d 816, 824 (2001). Allowing parties to bring alternative
claims of medical malpractice and breach of contract concurrently would allow plaintiffs to
circumvent the requirements of idaho Code § 6-1012, which would be an encroachment on a clear
mandate of the state legislature. Keyser v. $t. Mary’s Hosp., lnc., 662 F. Supp. 191, 194 (D. idaho
1987y

in Conner, the complaint alleged that Dr. Hodges breached his contract with Conner by
failing to perform a tubal ligation. 157 idaho 19, 333 P.3d 130 (2014). The Supreme Court upheld
the trial court's dismissal of the breach of contract claim and noted the case was an action for
damage due to injury on account of the provision of or failure to provide health care. Id. The
appellate court found the trial court properly concluded that the gravamen of plaintiff’s claim was
a failure to provide proper health care and plaintiff was precluded from bringing a breach of contract
claim. ld.

Likewise, in Bishop v. Owens, the court explained: ”The fact that a proponent labels his or
her action as sounding in contract as well as malpractice does not make the underlying action a
contract. The 'theory' of relief sought is not different." 152 idaho 616, 272 P.3d 1247, 1252 (2011).

Here, P|aintiffs' first cause of action is for medical negligence. Their primary contention is
that Dr. Mortimer breached the standard of care by inseminating Ashby with his own genetic
material.6 Clearly the P|aintiffs' Complaint is centered on Dr. Mortimer's provision of healthcare;
thus, P|aintiffs' claim for breach of contract is precluded and should be dismissed.

c. Emotionai gistress And Batte;v Claims Cannot Co-Exist With Ma_|gractice Claim And
Shouid Be Dismissed.

As argued above, where the gravamen of an action is in malpractice, a plaintiff’s claims are
subject to idaho Code § 6-1012.

The broad language of idaho Code § 6-1012 subjects nearly all claims involving physicians
and their patients to the requirements of idaho Code § 6-1012, including claims of intentional and
negligent infliction of emotional distress, as well as battery. P|aintiffs are precluded from asserting

simultaneous claims of intentional torts against physicians, as such claims would undermine the

 

5 Complaint (Dkt. 1), 11 27-30.

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evidentiary requirements of idaho Code § 6-1012. See Hall v. Rocky Ii/Iountain Emergency
Physicians, LLC, 155 idaho 322, 326, 312 P.3d 313, 317 (2013) (citing Litz v. Robinson, 131 idaho 282,
955 P.2d 113 (Ct. App. 1997) (finding plaintiff was ”artfu|ly labeling" cause of action an intentional
tort to avoid the requirements of i.C. §6-1012.)) Whenever plaintiffs have attempted to assert claims
of iiED against physicians, courts have simply construed such claims as claims of malpractice. ld.

in Hal/, plaintiff alleged a physician assistant fondled her breast during a routine
examination. Hall 155 idaho at 316, 312 P.3d at 325. P|aintiff brought several causes of action,
including battery and intentional infliction of emotional distress against the physician assistant who
treated her. ld. at 326, 312 P.3d at 317. She did not include a cause of action for medical
malpractice. ld. The defendants moved for summary judgment on various grounds, including that
the action was governed by idaho Code §§ 6-1012 and 6-1013 and required expert testimony on the
standard of healthcare practice. The idaho Supreme Court upheld the grant of summaryjudgment
by the trial court and confirmed that idaho Code § 6-1012 controlled the proceedings and could not
be bypassed. ld. at 317, 312 P.3d at 326. As a result, the court viewed plaintiff’s action as one in
malpractice and dismissed the action due to plaintiff’s failure to satisfy the expert requirements of
idaho Code § 6-1013. ld. The intentional tort claims did not survive.

A similar result was reached in Litz, where the plaintiff attempted to label his claim against
his physician as one for iiED and not medical negligence. Litz, supra, 131 idaho at 285, 955 P.2d at
116. The court prevented plaintiff from ”artfully labeling" his cause of action as one for iiED to avoid
the more stringent requirements of idaho Code § 6-1012. ld. The court found that plaintiff’s claims
were based on traditional notions of negligence. ld. The trial court granted summaryjudgment on
the basis that plaintiff failed to provide proper expert testimony as required under idaho Code §§
6-1012 and 6-1013. ld. The emotional distress claim did not survive.

Based on the foregoing, it is clear from both idaho Code § 6-1012 and subsequent case law
that any matter related to alleged misconduct of healthcare providers is subject to idaho Code §§
6-1012 and 6-1013, and other claims are precluded, no matter how they may be titled.

in the present case, P|aintiffs' emotional distress claims and battery claims are similar to the
claims in Hall and Litz since they arise from Dr. Mortimer's conduct as Ashby's physician. Because
P|aintiffs have asserted Dr. Mortimer was negligent in providing healthcare, they cannot
simultaneously bring emotional distress and battery claims as alternative theories. importantly,

P|aintiffs are not claiming a separate type of remedy related to their emotional distress and battery

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claims, further warranting dismissal. P|aintiffs' claims arise from the provision of medical care,
idaho Code §§ 6-1012 and 6-1013 apply and, as such, the unique requirements therein must govern
the matter. P|aintiffs cannot circumvent those requirements by titling claims under other alternative
theories, such as emotional distress or battery. P|aintiffs' emotional distress and battery claims are
therefore precluded and should be dismissed.

d. Consumer Protection Act C|aim Cannot Co-Exist With Malgractice C|aim And Shouid
Be Dismissed.

As argued above, idaho Code § 6-1012 requires unique evidentiary standards for claims
raised against physicians and other healthcare providers. idaho Code § 6-1012; Keyser v. St. Mary’s
Hosp., lnc., 662 F. Supp. 191, 194 (D. idaho 1987). These unique standards preclude certain claims
from arising in the medical context, including consumer protection claims. Applying the rationale
discussed above, claims arising under the idaho Consumer Protection Act (”iCPA") are precluded.
Keyser, 662 F. Supp. at 194.

in Keyser, plaintiffs brought both malpractice claims and iCPA claims against their physician.
ld. P|aintiffs alleged the physician's treatment fell below the standard of care, and that the physician
violated the iCPA by holding himself out as being knowledgeable and capable of treating the
plaintiff’s condition. ld. Relying upon the reasoning in Trimming v. Howard, 52 idaho 412, 16 P.2d
661 (1932), the court reiterated that ”[t]he original injury, be it caused by carelessness, negligence,
misconduct or whatnot, remains the sole cause of action" and determined the iCPA claim was
barred. ld. The court articulated the rationale behind the exclusion of alternative causes of action
when the gravamen of a claim is malpractice, reasoning that allowing claims other than malpractice
would allow plaintiffs an avenue to sidestep the clear mandate of i.C. § 6-1012. ld. Consequently,
any matter involving allegations laid against a physician by a patient will almost certainly trigger an
action in malpractice to the exclusion of all other claims. Id., 662 F. Supp. at 194.

The present case mirrors Keyser. P|aintiffs have brought a claim for violation of the consumer
protection act, alleging Dr. Mortimer engaged in unfair and deceptive practices.7 Yet, P|aintiffs'
primary contention is that Dr. Mortimer failed to provide adequate healthcare as required by an

OB/GYN in idaho Falls, idaho in 1980.8 The original injury is the gravamen of P|aintiffs' claims.

 

7 Complaint (Dkt. 1), 1i 59.
8Complaint (Dkt. 1), 111127-28.

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Consequently, P|aintiffs are precluded from asserting claims under the idaho Consumer Protection
Act for the same conduct and the claim should be dismissed.
4. PLAlNT|FE§ FA|LED TO PROPERLY PLEAQ_THE|R EMOT|ONAL DlSTRESLLA;|MS.

The absence of allegations setting forth a physical manifestation of emotional distress
warrants dismissal of emotional distress claims. Hopper v. Swinnerton, 155 idaho 801, 810, 317 P.3d
698, 707(2013). A cause of action for NiED will not be recognized where there is no physical injury
to the complainant. Herrera v. Conner, 111 idaho 1012, 1023, 729 P.2d 1075, 1086 (Ct. App. 1986

To bring a claim of iiED, a claimant must establish four elements, specifically: (1) the
defendant's conduct was intentional or reckless; (2) defendant's conduct was extreme and
outrageous; (3) there is a connection between the defendant's conduct and the plaintiff’s distress;
and (4) plaintiff’s emotional distress is severe. Edmondson v. $hearer Lumber Products, 139 idaho
172, 179, 75 P.3d 733, 740 (2003).

A claim of NiED requires the same elements as common law negligence: (1) defendant owes
a legal duty; (2) defendant breached that duty; (3) there is a causal connection between the
defendant's conduct and the plaintiff’s injury; and (4) plaintiff suffered actual loss or damage.
Frogley v. Meridian Jolnt$ChOol Dist. No. 2, 155 idaho 558, 569, 314 P.3d 613, 624 (2013).

in addition to establishing the elements of an emotional distress claim, idaho courts require
claimants to suffer from emotional distress so severe the distress is manifested in physical
symptoms. Hopper v. Swinnerton, 155 idaho 801, 810, 317 P.3d 698, 707(2013); $tanton v. Battel/e
Energy Alliance, LLC, 83 F. Supp.3d 937, 942 (D. idaho 2015). Requiring physical manifestations of
emotional distress offers proof that the mental harm complained of is genuine and not imagined.
Frogley v. Meridian Joint $ch. Dist. No. 2, 155 idaho 558, 314 P.3d 613, 624 (2013).

For example, in Hopper, plaintiff’s iiED claim stated that they had suffered emotional distress
without specifying any physical injury or symptom arising from the alleged emotional distress.
Hopper, 155 idaho at 810, 317 P.3d at 707. The absence of any claims of physical injury arising from
the plaintiff’s emotional distress caused the court in Hopper to dismiss plaintiff’s iiED claim. ld.
Similarly, in Herrera v. Conner, 111 idaho 1012, 1023, 729 P.2d 1075, 1086 (Ct. App. 1986), the
complaint merely stated that the plaintiff suffered ”mental pain and anguish," without any
allegations of physical injury, consequently the court found that the plaintiff failed to properly plead

a claim involving emotional distress. ld.

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Here, P|aintiffs have failed to plead Ly physical symptoms related to the alleged emotional
distress suffered as a result of Dr. Mortimer's actions. P|aintiffs claim to have been ”devastated"
and to have ”suffered immeasurably" upon learning the identity of Row|ette's biological father, but
like the plaintiff in Herrera, P|aintiffs' alleged devastation falls short of the minimal requirements.
Without citation to any physical manifestation of emotional distress, P|aintiffs have failed to state a
claim for emotional distress, and their claims should therefore be dismissed as a matter of law.

5. PLA|NT|FFS l_-l_&VE FA|LED TO ALLE_GE AN¥ CLAlMS AGA|NST Lm_DA MORT|MER.

Rule 8(a)(2), Fed. R. Civ. P., requires pleadings to contain, ”a short and plain statement of
the claim showing that the pleader is entitled to relief." Statements of the claim are sufficient when
the statement provides the defendant fair notice of the claims, and the factual basis for those
claims. Headwaters Const. Co. v. National City Mortg. Co., 720 F. Supp. 2d 1182, 1186 (D. idaho
2010) (citing Be/lAr/anric corp. v. Twombly, 550 u.s. 544, 554, 127 s. ct. 1955 (2007). The complaint
must contain facts that, if taken as true, would create a ”facial plausibility" that the defendant is
guilty of the alleged misconduct. ld. The plausibility requirement established by the court in
Twombly requires something more than a ”sheer possibility” that the defendant has acted
unlawfully. ld.

Here, P|aintiffs have failed to plead any facts that suggest misconduct by Ms. Mortimer.
Rather, P|aintiffs name Ms. Mortimer as a party on the singular basis that Ms. Mortimer is married
to Dr. Mortimer. Even a cursory reading of P|aintiffs' factual allegations leads to but one conclusion
-the misconduct they allege is against Dr. Mortimer, not his wife. A_ll acts and omissions complained
of are related to Dr. Mortimer's care of Ashby as her OB/GYN. Under the holding in Twombly,
P|aintiffs are required to plead facts specifically related to misconduct by Mrs. Mortimer or plead
facts of derivative liability to put Defendants on notice as to her misconduct. it is not enough to
assert she is liable because of a ”benefit of the marital property.”9 P|aintiffs' failure to allege any
misconduct or derivative liability against i\/irs. Mortimer causes P|aintiffs' claims against her to lack
the ”facial plausibility" required by Rule 8(a)(2), and therefore any claims asserted against Ms.
Mortimer require dismissal from this matter.

Moreover, the mere inclusion of a defendant's spouse does not affect the status of the

couple's community property. Twin FaI/s Bank & Trust Co. v. Holley, 111 idaho 349, 353, 723 P.2d

 

9Complaint (Dkt. 1), 1i 5.

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893, 897 (1986). Consequently, P|aintiffs' attempt to include Ms. Mortimer in their claims is
improper and warrants dismissal. $ee, ld. idaho Code § 32-912.
6. PLA|NT|FFS ROWLETI'E AN__D_FOWLER LACK STAND|NG TO BRING TH|S ACT|ON.

Determination of standing in a diversity action is based on state law. Sunwest Associates v.
Davis, 74 F.3d 1246 (9th Cir. 1996).

a. Row|ette And Fowler§Lmot Estabiish That Dr. Mortimer Owed Them A Dug.

in any medical negligence action, the plaintiff must establish that: (1) defendant owed a
duty, recognized by |aw, requiring defendant to conform to a certain standard of care; (2) the
defendant breached that standard of care;(3) defendant's breach caused the complained of injury;
and (4) the injury caused loss or damage. $chmechel v. Dille, 148 idaho 176, 187, 219 P.3d 1192,
1203 (2009). Whether a duty exists in a particular context is a question of law. Rountree v. Boise
Baseball LLC, 154 idaho 167, 171, 296 P.3d 373, 377 (2013).

idaho has not had occasion to address the specific question of whether a doctor owes a duty
of care in negligence to non-patient third-parties, such as a patient's family members. Other
jurisdictions have held, however, that a physician-patient relationship is essential to a claim for
medical malpractice. A plaintiff must prove the existence of a physician-patient relationship before
a duty can be established. $ee Jennings v. Badgett, 230 P.3d 861, 865-66 (Okla. 2010); Mead v.
Legacy Health System, 283 P.3d 904, 909-10 (Ore. 2010); $eeber v. Ebeling, 141 P.3d 1180 (Kan. Ct.
App. 2006); St. John v. Pope, 901 S.W.2d 420, 423 (Tex. 2005 )(establishing a physician-patient
relationship is pre-requisite for a malpractice claim); Gross v. Burt, 149 S.W.3d 213 (Tex. Ct. App.
2004); Millard v. Corrado, 14 S.W.3d 42 (Mo. Ct. App. 1999); Roberts v. Hunter, 465 S.E.2d 797 (S.C.
1993); see also Bishop v. Owens, 152 idaho 616, 620, 272 P.3d 1247, 1257 (2011) (requiring an
attorney-client relationship before a client could establish a malpractice claim).

Application of |daho's well-established standards for determining whether a particular duty
applies necessitates a finding that Dr. Mortimer did not owe Fowler or Row|ette a duty in
negligence, The idaho Supreme Court has ”made clear that not every person or entity owes a tort
duty to everyone else in all circumstances." Boot v. Winters, 145 idaho 389, 393-94, 179 P.3d 352,
356-57 (Ct. App.2008). in the instant action, neither Fowler nor Row|ette have stated a claim

establishing that Dr. Mortimer owed them any type of duty.

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i. Fowler was no_th. Mortimer's Patient.

A physician-patient relationship is established when a physician uses their specialized
training to diagnose or treat an individua|’s medical condition. Pines v. Idaho $tate Bd. ofMedicine,
158 idaho 745, 754-55, 351 P.3d 1203, 1211-12 (2015). However, even when a physician-patient
relationship exists, there still must be an inquiry into the scope of the duty owed by the physician
to their patient. Wilson v. Athens-Limestone Hosp., 894 S.E.2d 630, 633 (Ala. 2004). The scope of the
duty owed by a physician is defined by the nature and circumstances of the patient's treatment.
Gilbert v. Miodovnik, 990 A.2d 983, 993 (D.C. Ct. App. 2010) (whether a physician owes their patient
a duty of care depends on the totality of circumstances.)

For example, in Wilson the patient received allegedly negligent treatment during a visit to
the emergency room. Wilson, 894 S0.2d at 632. The patient's regular physician, with whom the
patient had a pre-existing physician-patient relationship, visited the emergency room to discuss the
patient's diagnoses with the emergency room physicians. ld. Later, when the patient brought a
malpractice action for injuries suffered during his emergency room visit, he asserted the claim
against his regular physician. ld. The court dismissed his claim, however, finding that the plaintiff’s
regular physician did not owe him a duty during his emergency room visit. ld. The court reasoned
that since the physician did not treat or diagnose his patient at the emergency room, but only
discussed the conclusions ofthe emergency room physicians, the patient's regular physician did not
owe a duty of care for any of his patient's injuries while under the care of the emergency room
physicians. ld.

in the present case, Fowler alleges that Dr. Mortimer ”diagnosed" him with a low sperm
count and low sperm motility.10 The claim against Dr. Mortimer is not, however, that he
misdiagnosed Fowler’s condition, that he did not properly treat Fowler’s condition, or that Dr.
Mortimer harmed Fowler in some way clue to a missed diagnosis or a failure to properly treat his
sperm condition. Fowler did not seek Dr. Mortimer's care, he did not ask Dr. Mortimer to treat his
condition, nor did he accept treatment for his sperm condition from Dr. Mortimer. Like the factual
scenario in Wilson, the physician-patient relationship has its limitations.

P|aintiffs' negligence claim does not stem from Dr. Mortimer's diagnosis of Fowler’s low

sperm count, but from the alleged negligent performance of Ashby's artificial insemination

 

10 Complaint (Dkt. 1),, 1| 11.

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procedure. Since the procedure was performed only on Ashby, and further, was a procedure Fowler
was biomechanically excluded from receiving, Dr. Mortimer only owed a duty to Ashby for its
successful completion.

Nor can Fowler claim to have been Dr. Mortimer's patient simply based on his donation of
genetic material. First, Fowler’s donation is neither a diagnosis or treatment for his low sperm count.
Second, having the donation of genetic material create a physician-patient relationship would
significantly expand the duties of physicians involved in the artificial insemination process, leading
to both absurd and unintended consequences.

in sum, since Fowler was not Dr. Mortimer's patient for purposes of Ashby's artificial
insemination, Dr. Mortimer did not owe Fowler a duty for its proper performance.

Even if the Court determines that Fowler was not required to establish a physician-patient
with Dr. Mortimer, Fowler cannot establish Dr. i\/iortimer owed him a duty because the idaho
Supreme Court has never found that a defendant owes a duty to the spouse of the individual to
whom their conduct is directed.

in evaluating whether a duty exists in a particular context, idaho courts use the ”balancing
of harm" analysis. Beers v. Corporation of Pres. of Church of Jesus Christ of Latter-Day $aints, 155
idaho 680, 316 P.3d 92, 97 (2013). This analysis is directed by several factors, known as the Rife
factors, which are:

The foreseeability of harm to the plaintiff, the degree of certainty that the plaintiff suffered

injury, the closeness of the connection between the defendant's conduct and the injury

suffered, the moral blame attached to the defendant's conduct, the policy of preventing
future harm, the extent of the burden to the defendant and consequences to the community
of imposing a duty to exercise care with resulting liability for breach, and the availability,
cost, and prevalence of insurance for the risk involved (citations omitted).
Zaleha v. Roshold, Robertson & Tucker, Chtd., 131 idaho 254, 953 P.2d 1363 (1997) citing Rife v.
Long, 127 idaho 841, 846, 908 P.2d 143, 148 (1995).

in Zahela, the court applied the balancing of harm analysis to claims brought by a spouse
when her husband's employer discharged him, allegedly for discriminatory reasons. Zaleha v.
Rosholt, Robertson & Tucker, Chtd., 131 idaho 254, 953 P.2d 1363, 1364 (1998). The spouse brought
claims of intentional and negligent emotional distress, alleging the employer's conduct caused her

to suffer emotional distress, and that she was a foreseeable victim of their actions. ld. at 26, 953

P.2d at 1365. However, when the court applied the balancing of harm analysis, it determined the

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employer did not owe a duty to the spouse. ld. The court reasoned that the employer's conduct was
only directed to the husband, and the spouse only suffered emotional injuries, therefore the nexus
between the complained of conduct and the injury was too tenuous to impose a duty. ld. Moreover,
the court noted it had never imposed a duty on a defendant to not injure a person from conduct
directed toward that person's spouse. ld.

in the present case, Fowler claims Dr. Mortimer owed him a duty to act by a prescribed
standard of care, and that Dr. Mortimer violated that duty when Dr. Mortimer inseminated Ashby
with his own genetic material. However, like the spouse in Zaleha, Fowler only complains of
emotional injury arising from conduct directed toward his then wife, Ashby. Applying the court's
reasoning in Zaleha, Fowler complaining of emotional injuries caused from conduct directed at his
wife is too tenuous a connection between the act and injury to impose a duty on Dr. Mortimer.
Since Fowler cannot establish even a prima facie claim that Dr. Mortimer owed him a duty of care,
Fowler has failed to properly state a claim of medical negligence against Dr. Mortimer, and therefore
his claim should be dismissed as a matter of law.

This conclusion is solidified by the appellate court's holding in Zaleha stating that they have
never imposed a duty on a defendant to not injure the spouse of the person the conduct was
directed toward. Additionally, other jurisdictions which have examined a husband's standing to sue
in wrongful conception cases have held that a husband's claims are limited to a loss of consortium
- a claim that is not at issue in this case. $ee Jackson v. Bumgardner, 347 S.E.2d 743, 749 (N.C. 1986).
Ultimately, Fowler has failed to present any facts or reasoning that would compel an expansion of
long-established limitations of the duties owed to third parties. Therefore, his claims should be
dismissed.

ii. Rowlgtte was not Dr. Mortimer's Patient.

Like Fowler, Row|ette claims Dr. Mortimer owed her a duty of care, and that Dr. Mortimer
violated that duty when he artificially inseminated Ashby with his own genetic material. Unlike
Fowler, Row|ette does not claim injuries stemming from conduct directed to a spouse, but rather
claims her own birth as her injury. Since Row|ette complains that Dr. Mortimer's alleged negligence
caused her life, Row|ette's claim can only be classified as one for wrongful life.

Wrongful life is a cause of action where a child alleges the defendant's negligence resulted

in the person's birth. B/ake v. Cruz, 108 idaho 253, 259, 698 P.2d 315, 321 (1984) superseded by

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statute.11 Almost all jurisdictions, including idaho, have refused to recognize wrongful life claims.
idaho Code § 5-334; ld. idaho Code § 5-334(1) expressly prohibits wrongful life claims, stating: A
cause of action shall not arise, and damages shall not be awarded, on behalf of any person, based
on the claim that but for the act or omission of another, a person would not have been permitted
to have been born alive but would have been aborted. $ee also Vanvooren v. Astin, 141 idaho 440,
442, 111 P.3d 125, 127 (2005).

The rational for the near universal rejection of wrongful life claims is they amount to a
disclaimer of human life, implying the child's life itself is wrongful. ld. The denial of such claims
ensures the dignity of human life. Id.

Here, Row|ette's claim that Dr. Mortimer negligently caused her life is a clear attempt to
establish a wrongful life claim, a claim expressly rejected in idaho by the plain language of idaho
Code § 5-334(1). Consequently, Row|ette has failed to state a claim for relief upon which relief may
granted; therefore, her claims should be dismissed.

b. Fowler And Row|§ge Are Not Rea| Parties in interest.

 

A real party in interest is the person who will be entitled to the benefits of the action if
successful, one who is actually and substantially interested in the subject matter. St. Luke's Reg'l
Med. Ctr. v. Board of Comm’rs of Ada County, 146 idaho 753, 757, 203 P.3d 683, 687 (2009). Fowler
and Row|ette are not the real parties in interest on any of the causes of action since Ashby was the
individual who allegedly suffered the original injury, i.e. the medical negligence. Thus, Fowler and
Row|ette are not entitled to the benefits of the action and have no actual interest in the subject
matter.

As discussed above, Dr. Mortimer did not owe a duty to either Fowler or Row|ette. Assuming
arguendo that the remaining causes of action are not dismissed on other grounds, neither Fowler
or Row|ette can be considered a real party in interest, especially when considering that the alleged
original injury was to Ashby. P|aintiffs' allegations of lack of informed consent, fraud, battery,
breach of contract, and consumer protection do not include Row|ette. Thus, Row|ette cannot be

considered a real party in interest with regard to those claims and those claims should be dismissed

 

11 The court in Blake found determined parents whose child had birth defects had a cause of action known as
wrongful birth. Blake 108 idaho at 257, 698 P.2d at 319. The portion of Blake authorizing a wrongful birth claim for
parents of children born with preventable birth defects was overturned by i.C. § 5-334. i.C. § 5-334 also prevents
wrongful life claims.

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as to Row|ette. And, even though Row|ette is mentioned in P|aintiffs' medical negligence cause of
action, since she was not alive at the time of the care, she cannot be considered a real party in
interest and that claim, too, should be dismissed as to Row|ette. Additionally, since P|aintiffs'
emotional distress claims are related to the alleged original injury to Ashby, Row|ette cannot be a
real party in interest and those claims should be dismissed, as well.

Since P|aintiffs' causes of action all relate to the alleged original injury to Ashby - not an
injury to Fowler, Fowler is not a real party in interest and all claims as to Fowler should be dismissed.

CONCLUS|ON

in sum, P|aintiffs' claims should be dismissed as follows:

1) i\/iedical negligence: barred by the statute of limitation, no duty owed to Fowler
and Rowlette,

2) Lack of informed consent: barred by the statute of limitation and for failure to
state a claim;

3) Fraud: precluded by malpractice claim;

4) Battery: barred by the statute of limitation, precluded by malpractice claim;

5) Emotionai distress; barred by the statute of limitation, precluded by malpractice
claim, and failure to state a claim;

6) Breach of contract: barred by the statute of limitation, precluded by malpractice
claim;

7) Consumer protection violation: barred by the statute of limitation, precluded by
malpractice claim;

8) Failure to state claim as to Ms. Mortimer; and

9) Fowler and Row|ette lack standing and are not real parties in interest.

9

DATED this l 9 day ofJune, 2018.

PowERs.-TOLMA %LEY,PLLC
Bv M / ifM--

Raymond D. Powers - Of the Firm

Portia L. Rauer - Of the Firm

Attorneys for Defendants Gerald E. Mortimer,
M.D. and Linda G. McKinnon Mortimer

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CERT|F|CATE OF SERV|CE

{'f
i HEREBY CERT|FY that on the fig day oflune, 2018, i caused to be served a true copy
Of the foregoing MEMORANDUM lN SUPPORT OF DEFENDANTS GERALD E. MORT|MER, M.D.
AND L|NDA G. MCK|NNON MORT|MER'S MOT|ON TO DlSMlSS, electronically through the
CM/ECF system, which caused the following parties or counsel to be served by electronic means,
as more fully reflected on the Notice of Electronic Filing:

lillian A. Harlington, ihar|ingon@wa|kerheye.com

Matthew M. Purcell, mp@purcellfamilylaw.com

Shea C. Meehan, smeehan@waikerheye.com
Attorneys for Plaintiffs

J. Michael Wheiler, wheiler@thwlaw.com
Richard R. Friess, friess@thwiaw.com
Attorneys for OB-GYN Associates

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Raymond D. Powers
Portia L. Rauer

 

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